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                   IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


STEPHANIE WIEDEMAN                                           )
                                                             )
              Plaintiff,                                     )
                                                             )
              vs.                                            )
                                                             )
TIFFANY HENYARD, individually and in                         )
her official capacity as MAYOR OF DOLTON,                    )
THE VILLAGE OF DOLTON,                                       )
DOLTON POLICE OFFICER S. HOPSON,                             )
DOLTON POLICE DETECTIVE J. DEVRIES,                          )
AND DOLTON POLICE SEARGENT M. HARRIS.                        )


                                         COMPLAINT


       The Plaintiff, STEPHANIE WIEDEMAN, PLAINTIFF, by and through her attorneys,

Melinda Power, of West Town Law Office, and Madeline Townsend, of the Law Office of

Madeline Townsend, complains against Defendants TIFFANY HENYARD, VILLAGE OF

DOLTON, and DOLTON POLICE OFFICERS HOPSON, DEVRIES, and HARRIS, stating as

follows:

                                           PARTIES

   1. Plaintiff, Stephanie WIEDEMAN (“Plaintiff”), was a resident of Thornton, Illinois, in

       Cook County in the Northern District of Illinois.

   2. Defendant Village of Dolton (“Dolton”) is a municipal corporation duly incorporated

       under Illinois law and is the employer and principal of Defendant Officers. Dolton is

       being sued on a Monell theory of liability, as well as on an indemnification theory of

       liability for Defendant Officers and Defendant Henyard.


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3. Defendant Tiffany Henyard (“Henyard” or “Mayor Henyard) is the Mayor of Dolton and

   the Supervisor of Thornton Township and a resident of Cook County in the Northern

   District of Illinois. At the time of these occurrences, Henyard was acting in her official

   capacity and under color of law. Henyard is being sued in both her individual and official

   capacities.

4. Defendants Hopson, Devries, and Harris are employed as law enforcement officers by

   Dolton and, at the time of these occurrences, were acting within the course and scope of

   their employment and under color of law.

                             JURISDICTION AND VENUE

5. This Court has original jurisdiction over the federal claims in this action pursuant to 28

   U.S.C. § 1331 as well as supplemental jurisdiction over the state-law indemnification

   count pursuant to 28 U.S.C. §1367.

6. Venue is proper under 28 U.S.C. §1391(b) as all of the parties reside within the judicial

   district, and the events from which this claim arise all occurred within the District.

                                          FACTS

7. Stephanie WIEDEMAN has been a resident of Cook County since 1980.

8. Plaintiff started working for Thornton Township in 2002 and worked in various positions

   with the townships until March 2022.

9. The Village of Dolton is in Thornton Township.

10. Dolton holds bi-monthly meetings for the Dolton Board of Trustees, which runs the

   village in coordination with the Dolton Mayor.




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11. These meetings are open to the public and members of the public are allowed to attend

   and to comment during specified public comment sections.

12. As a politically engaged resident of Thornton Township, Plaintiff frequently attends these

   meetings and shares her thoughts on matters of public concern during the public

   comment section.

  Tiffany Henyard Elected Mayor of Dolton And Becomes Center of Controversy

13. In February 2021, Tiffany Henyard was elected Mayor of the Village of Dolton.

14. In Henyard’s first year as mayor, she took a number of actions which generated

   substantial controversy, such as:

       a. Forming her own personal security detail of three full-time Dolton police officers

             paid for by the Village of Dolton, decreasing the number of officers available for

             routine law enforcement;

       b. Using public funds to pay for billboards prominently featuring Henyard’s name

             and image;

       c. Altering the advertising for local Dolton public events and programs to

             prominently feature Henyard’s name and image; and

       d. Using public funds to pay for personal travel, including a lavish trip to Las Vegas

             for Henyard.

15. On December 8, 2021, the Dolton Board of Trustees voted to call a recall election against

   Henyard to be held on June 28, 2022.

16. In the June 28, 2022 recall election, Dolton voters voted to remove Mayor Henyard from

   office.




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17. Mayor Henyard remained in office, however, as the election result was invalidated by

   Illinois courts on procedural grounds.

18. Plaintiff was and is an outspoken critic of Mayor Henyard, both online on Plaintiff’s

   personal Facebook account and in person at Dolton board meetings.

19. Plaintiff has expressed her belief that Mayor Henyard is misusing her office to enrich

   herself and her political allies and has misappropriated public funds for her own private

   gain.

20. Plaintiff’s posts, while at times highly critical of the mayor, contain nothing that could be

   reasonably construed as threats or intimidation.

21. Despite this, Mayor Henyard has repeatedly portrayed Plaintiff’s criticism as a threat to

   her safety and the safety of her family.

22. Mayor Henyard accused Plaintiff of trying to intimidate her when Plaintiff attended a

   Dolton Board of Trustees meeting and looked at the Defendant mayor.

23. Defendant Mayor accused Plaintiff of harassment for posting critical comments in a local

   Facebook group.

24. Defendant Mayor accused Plaintiff of stalking her based on Plaintiff’s attendance at

   public board meetings and events hosted by Mayor Henyard.

25. Mayor Henyard has treated Plaintiff’s speech critical of Defendant Mayor and Plaintiff’s

   attendance at open government events as if they were a campaign dedicated to harass,

   stalk, and threaten Defendant Mayor’s life and that of her family.

26. Mayor Henyard has weaponized her authority over the Dolton police department to

   harass, intimidate, and arrest Plaintiff for her protected speech and participation in her

   local government.



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27. Defendant Henyard’s abuse of power has gone on for over a year and caused significant

   anguish to Plaintiff and hampered her ability to engage in First Amendment protected

   political speech.

                                 June 11 Meeting and Arrest

28. The first incident in Defendant Mayor’s violation of Plaintiff’s constitutional rights took

   place at a Tea with the Trustees meeting on June 11, 2022.

29. Like other Dolton meetings, the meeting was open to the public and featured a public

   comment section.

30. Plaintiff was present along with a number of other Dolton residents who wished to speak

   out on Village concerns, including the recall process, which was an issue of significant

   public concern.

31. Before the meeting began, Plaintiff and several other attendees walked outside.

32. While outside, Plaintiff saw Dolton employee Kim Alston placing pro-Henyard campaign

   flyers on the windshield of Plaintiff’s car and other vehicles in the parking lot.

33. Plaintiff removed Henyard’s campaign flyers from her windshield and the windshields of

   cars belonging to other attendees who asked her to do so.

34. Plaintiff saw a pile of campaign flyers that were ripped up and cars had apparently

   driven over them in the parking lot and she gathered them up to dispose of them inside.

35. Alston saw Plaintiff taking the flyer off Plaintiff’s car and told Mayor Henyard.

36. Mayor Henyard ordered that Plaintiff be arrested for taking a flyer off her own car and

   had Alston call the Dolton police to come arrest her mid-meeting.

37. Dolton Police Officer Hopson, Detective Devries, and Sergeant Harris arrived at the

   meeting and began to search for Plaintiff.

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 38. They entered the meeting and forcibly escorted her out of the building and arrested her.

 39. This arrest was false and in violation of Plaintiff’s constitutional rights.

 40. Defendant officers knew the arrest was false but arrested Plaintiff nonetheless.

 41. Defendant officers transported Plaintiff to the Dolton Village police precinct where she

    was processed, cited, and released on a $150 bond.

 42. The bond impeded Plaintiff’s ability to travel outside the Northern District of Illinois.

 43. Plaintiff was charged with one count of Misdemeanor Theft Under $500 in violation of

    720 ILCS 5/16-1-4-1 in the case People v. Wiedemann, 22MC6002440.

 44. Plaintiff was forced to retain an attorney who represented her during the pendency of the

    criminal case.

 45. Plaintiff was forced to attend court for months while the case was pending.

 46. Plaintiff was limited in her freedom of movement as a result of the fact that she was

    limited by the strictures of the bond.

 47. On March 4, 2023, the charges against Plaintiff were dropped in a manner consistent with

    her innocence.

Mayor Henyard Continues To Weaponize Dolton Police Against Plaintiff To Silence Her
                                 Criticism


 48. After her June 11, 2022 arrest, Plaintiff remained actively involved in Dolton politics.

 49. Plaintiff frequently attended town meetings and other public events.

 50. Plaintiff actively participated in discussions about Dolton and Mayor Henyard online,

    where she often expressed criticism of Mayor Henyard.

 51. Henyard reported these criticisms to the Dolton police department and claimed that they

    made her fear for her safety and the safety of her family.


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52. On September 8, 2022, Plaintiff went to a Village of Dolton Board Meeting.

53. Although the meeting was open to the public, Mayor Henyard ordered Dolton police

   officers in attendance to remove Plaintiff from the building.

54. Dolton Police Officer Miles escorted Plaintiff out of the building and told her that she

   wouldn’t be able to attend the meeting due to a police report made against her for

   harassment.

55. On September 8, 2022, Mayor Henyard called the Dolton police Department to provide

   additional information on the decision to remove Plaintiff from the meeting.

56. Henyard stated that Plaintiff had attended a previous board meeting and “stared” at

   Mayor Henyard, which the mayor interpreted as an attempt at intimidation and

   harassment.

57. Officer Miles informed Henyard that he did not consider this behavior to be intimidation.

58. Mayor Henyard continued to use the Dolton police to shut Plaintiff out of village

   meetings and silence her criticism.

59. Plaintiff attended the next Dolton Board Meeting on September 19, 2022.

60. While there, she was confronted by Dolton Police Officer Mathus who told her she had to

   remain quiet during the meeting.

61. Internal police reports claim that this was because Plaintiff was “stalking the Mayor” by

   attending Board Meetings and other public events.

62. Plaintiff was denied the ability to comment during the public comment portion of the

   meeting and felt threatened into silence by Mayor Henyard.




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    63. On September 28, 2022, Mayor Henyard hosted a public event titled “Conversation with

        the Township Supervisor1” at Thornridge High School.

    64. Plaintiff attended this event and sat quietly in the eighth row, where she engaged in no

        disruptive behavior.

    65. Despite this, Mayor Henyard directed Dolton police to generate a police report based on

        Plaintiff’s presence at this public event.

    66. On August 12, 2023, Plaintiff attended a local music festival called the House Head

        event.

    67. Mayor Henyard was also in attendance and told Dolton officers on her security detail

        that Plaintiff’s presence made her feel uncomfortable and threatened.

    68. The next day, Plaintiff posted mild criticisms of the Mayor in the Facebook group

        “Dolton Politics” about attending the event.

    69. Mayor Henyard read these posts and told Dolton police that they made her fear for her

        safety and that of her family.

    70. Based on Mayor Henyard’s past weaponization of Dolton police against her, Plaintiff

        sincerely fears that this or other incidents will be used to expose her to baseless criminal

        liability or to otherwise prevent her from participating in her local government and

        exercising her First Amendment rights.

    71. These incidents have caused Plaintiff to experience loss and substantial mental anguish.

                                             COUNT I
                              FIRST AMENDMENT RETALIATION
                          42 U.S.C. §1983 (INDIVIDUAL DEFENDANTS)



1
  In addition to her role as Mayor of Dolton, Mayor Henyard was appointed to the position of Township Supervisor
for the Thornton Township where Dolton is located.

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72. Each paragraph of this complaint is fully restated and incorporated herein.

73. Defendants’ conduct was intended to extinguish and silence the First Amendment

   protected free speech of Plaintiff and shut down any criticism of Mayor Henyard.

74. Defendants’ conduct was intended to punish Plaintiff for her First Amendment protected

   free speech and expressed viewpoint.

75. The arrest of Plaintiff was substantially motivated by the content of her speech and

   actions.

76. Plaintiff was engaged in lawful First Amendment activity online and in Dolton.

77. Plaintiff’s attendance and speech at Dolton public meetings was protected speech as well

   as an exercise of Plaintiff’s right to petition her local government.

78. Defendants targeted and arrested Plaintiff because she had criticized Mayor Henyard and

   advocated in favor of the recall election against the Mayor.

79. Plaintiff violated no laws while engaging in constitutionally protected behavior, yet

   Mayor Henyard ordered her to be falsely arrested, seized, and charged.

80. Defendants’ conduct has limited and extinguished Plaintiff’s ability to continue to

   exercise her free speech rights.

81. Defendants have continued to harass and silence Plaintiff by excluding her from Dolton

   board meetings, having officers threaten her into silence, and filing police reports

   accusing Plaintiff of stalking for simply attending public events.

82. Defendants’ actions were objectively unreasonable and undertaken with willfulness

   and/or reckless indifference to Plaintiff’s rights.

83. Defendants’ actions were directly responsible for the violation of Plaintiff’s First

   Amendment rights and the deprivations and anguish she suffered.



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   WHEREFORE, pursuant to 42 U.S.C. §1983, Plaintiff demands actual and

compensatory damages plus the costs of this action and attorney fees from Defendants; in

addition, Plaintiff demands punitive damages against Defendants since they acted willfully,

wantonly, and/or in reckless disregard of Plaintiff’s rights and for whatever additional relief

this Honorable Court deems equitable and just.

                                     COUNT II
                     FOURTH AMENDMENT FALSE ARREST
                   42 U.S.C. §1983 (INDIVIDUAL DEFENDANTS)

84. Each paragraph of this complaint is fully restated and incorporated herein.

85. The Individual Defendants’ actions and conduct, as set forth above, in falsely arresting

   Plaintiff on June 11, 2022, under color of law and without probable cause violated her

   Fourth Amendment right to be free from unreasonable arrest.

86. There was no probable cause for the arrest of Plaintiff.

87. Defendants’ actions and conduct were the direct and proximate cause of the violation of

   Plaintiff’s Fourth Amendment rights and caused her emotional distress, fear, anguish,

   trauma, and loss of liberty as forth more fully above.

   WHEREFORE, pursuant to 42 U.S.C. §1983, Plaintiff demands actual and

compensatory damages plus the costs of this action and attorney fees from Defendants; in

addition, Plaintiff demands punitive damages against Defendants since they acted willfully,

wantonly, and/or in reckless disregard of Plaintiff’s rights and for whatever additional relief

this Honorable Court deems equitable and just.

                              COUNT III
              FOURTH AMENDMENT MALICIOUS PROSECUTION
                      (INDIVIDUAL DEFENDANTS)

88. Each paragraph of this complaint is fully restated and incorporated herein.



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89. After Defendants unlawfully arrested Plaintiff at Defendant Mayor’s orders, Defendant

   officers charged Plaintiff with Theft of Property Under $500.

90. After appearing for a hearing and three status dates, the prosecutor dismissed the case

   against Plaintiff.

91. Plaintiff’s dismissal evidences that the arrest was made without probable cause and that

   Defendants executed the arrest, as alleged above, to silence Plaintiff.

92. Defendants targeting of Plaintiff shows malice.

93. This malicious prosecution caused Plaintiff emotional distress, fear, anguish, to spend

   attorney fees and loss of liberty as set forth more fully above.

94. This malicious prosecution was unsupported by probable cause, in violation of Plaintiff’s

   Fourth Amendment rights.

   WHEREFORE, pursuant to 42 U.S.C. §1983, Plaintiff demands actual and

compensatory damages plus the costs of this action and attorney fees from Defendants; in

addition, Plaintiff demands punitive damages against Defendants since they acted willfully,

wantonly, and/or in reckless disregard of Plaintiff’s rights and for whatever additional relief

this Honorable Court deems equitable and just.

                                  COUNT IV
                                MONELL CLAIM
                        (DEFENDANT VILLAGE OF DOLTON)

95. Each paragraph of this complaint is fully restated and incorporated herein.

96. Plaintiff had fundamental rights under the First and Fourth Amendments not to be falsely

   detained, maliciously prosecuted, and to be free from retaliation for her protected speech.

97. Defendant Officer Hopson, Detective Devries, and Sergeant Harris were at all times

   relevant to this complaint employed by Defendant Village of Dolton.



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98. Defendant Officers were at all times relevant to this complaint acting under color of law

   and within the scope of their employment with the Village of Dolton.

99. Defendant Henyard was at all times relevant to this complaint Mayor of the Village of

   Dolton.

100. On information and belief, Defendant Henyard has the final policymaking authority

   over the Dolton Police Department in her role as Mayor of Dolton.

101. The decision to arrest and charge Plaintiff was made pursuant to Defendant Henyard’s

   policy and order.

102. Defendant Henyard’s unlawful policy to silence and exclude her critics was the direct

   and proximate cause of Plaintiff’s unlawful arrest, malicious prosecution, and the

   violation of her First Amendment rights.

   WHEREFORE, pursuant to 42 U.S.C. §1983, Plaintiff demands actual and

compensatory damages plus the costs of this action and attorney fees from Defendants; in

addition, for whatever additional relief this Honorable Court deems equitable and just.

                                        COUNT V
                             STATE MALICIOUS PROSECUTION
                                (INDIVIDUAL DEFENDANTS)

103. Plaintiff re-alleges all preceding paragraphs as if fully set forth herein.

104. Defendant Officers commenced and/or continued false felony criminal charges

   against Plaintiff.

105. Defendant-Officers did so with malice.

106. There was no probable cause for such charges.

107. The charges were terminated in a manner favorable to Plaintiff and indicative of the

   innocence of the Plaintiff.



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   108. The acts of Defendant-Officers, as described above, were committed in the scope of

       employment.

   109. As principal and employer, Defendant Village of Dolton is liable for its agents’

       actions under the doctrine of respondeat superior.

        WHEREFORE, Plaintiff demands that she be given compensatory damages against

        Defendants and enter judgment against the Village of Dolton for its agents’ actions under

        the doctrine of respondeat superior.


                                        COUNT VI
                                    INDEMNIFICATION

   110. Each paragraph of this complaint is fully restated and incorporated herein.

   111. Plaintiff brings state-law indemnification claims against the Village of Dolton for any

       judgment entered against the individual defendants.

   WHEREFORE, Plaintiff requests that judgment be entered in favor of her and against

Dolton for the amounts of any compensatory damages awarded against the individual

Defendants.


       PLAINTIFF DEMANDS A TRIAL BY JURY


                                                    Respectfully Submitted,
                                                    s/Melinda Power
                                                    Melinda Power

                                                    s/Madeline Townsend
                                                    Madeline Townsend


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